457 F.2d 1317
    173 U.S.P.Q. 321
    LONG MANUFACTURING COMPANY, Appellant,v.LILLISTON IMPLEMENT COMPANY, Appellee.LONG MANUFACTURING COMPANY, Appellee,v.LILLISTON IMPLEMENT COMPANY, Appellant.
    Nos. 71-2016, 71-2017.
    United States Court of Appeals,Fourth Circuit.
    Argued March 8, 1972.Decided April 4, 1972.
    
      A. Yates Dowell, Jr., Arlington, Va.  (Henry C. Bourne and Bourne, Bourne &amp; Britt, Tarboro, N. C., on brief), for Long Mfg. Co.
      Edward Taylor Newton, Atlanta, Ga.  (Edwin L. Reynolds, William J. Ormsby, Jr., and Newton, Hopkins &amp; Ormsby, Atlanta, Ga., and Cyrus F. Lee, and Connor, Lee, Connor &amp; Reece, Wilson, N. C., on brief), for Lilliston Implement Co.
      Before HAYNSWORTH, Chief Judge, and WINTER and RUSSELL, Circuit Judges.
      PER CURIAM:
    
    
      1
      After full consideration of the briefs and oral argument, we find ourselves in agreement with the decision of the District Court that both of the appellant's patents are invalid on the ground of obviousness to persons reasonably skilled in the art. Long Manufacturing Co. v. Lilliston Implement Co., E.D.N.C., 328 F.Supp. 268.
    
    
      2
      We decline to award the attorneys fees sought by the appellee since this is not one of the "exceptional cases" to which this form of relief in patent cases is limited.
    
    
      3
      Affirmed.
    
    